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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:04CR194
                                            )
            Plaintiff,                      )
                                            )
            vs.                             )                    ORDER
                                            )
MATTHEW HANSON,                             )
                                            )
            Defendant.                      )

      This matter is before the Court on the Plaintiff’s request for redaction (Filing

No. 102).

      IT IS ORDERED:

      1.    The Plaintiff’s request for redaction (Filing No. 102) is granted; and

      2.    The requested redaction shall be made.

      DATED this 30th day of August, 2006.

                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                United States District Judge
